Case 09-10138-MFW Doc 8016-7 Filed 07/18/12 Pagei1of2

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Chapter 11
In re:
Case No. 09-10138 (KG)
NORTEL NETWORKS INC., et al.!
Jointly Administered
Debtors.

SNMP RESEARCH INTERNATIONAL INC.
and
SNMP RESEARCH, INC.,

Plaintiffs,
v.

NORTEL NETWORKS INC., et al.,
NORTEL NETWORKS CORPORATION,
NORTEL NETWORKS LIMITED, NORTEL
NETWORKS GLOBAL CORPORATION,
NORTEL NETWORKS INTERNATIONAL
CORPORATION, NORTEL NETWORKS
TECHNOLOGY CORPORATION,
GENBAND US LLC, GENBAND, INC.,
PERFORMANCE TECHNOLOGIES, INC.,
PERFTECH (PTI) CANADA, AVAYA INC.,
RADWARE LTD., Adv. Proc. No. 11-53454 (KG)
and

JOHN DOE DEFENDANTS 1-100,

Defendants.

we” Nene Seer Nera Smee Stee” Smee” Sra” See” Nese” Sewer” Sem” Semen! eae” “ere! Same! Nase! Se” Seamer! Nee! Set Namur eure! Samer! Ngee! Nee Smaart! Nepetl Nene Nee” “ene” See’ Seger” Nene” Same See”

' The U.S. Debtors in these chapter 11 cases, along with the last four digits of each U.S. Debtor’s tax identification
number, are: Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Nortel Altsystems Inc.
(9769), Nortel Altsystems International Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation
(0251), CoreTek, Inc. (5722), Nortel Networks Applications Management Solutions Inc. (2846), Nortel Networks
Optical Components Inc. (3545), Nortel Networks HPOCS Inc. (3546), Architel Systems (U.S.) Corporation (3826),
Nortel Networks International Inc. (0358), Northern Telecom International Inc. (6286), Nortel Networks Cable
Solutions Inc. (0567) and Nortel Networks (CALA) Inc. (4226).

Docket No. 33
March 2, 2012
Case 09-10138-MFW Doc 8016-7 Filed 07/18/12 Page 2 of 2

ANSWER TO COMPLAINT

FILED UNDER SEAL

/s/ Michael J. Custer

Dated: March 2, 2012 David B. Stratton (DE No. 960)
Evelyn J. Meltzer (DE No. 4581)
Michael J. Custer (DE No. 4843)
Pepper Hamilton LLP
Hercules Plaza, Suite 5100
1313 Market Street
P.O. Box 1709
Wilmington, Delaware 19899-1709
Tel: 302-777-6500
Fax: 302-421-8390

and

Paul R. Gupta (pro hac vice pending)
Clifford R. Michel (pro hac vice pending)
Toi Frederick (pro hac vice pending)
Orrick, Herrington & Sutcliffe LLP

51 West 52nd Street

New York, NY 10019

Tel.: 212-506-5000

Fax: 212-506-5151

Attorneys for Defendant Avaya Inc.
